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 7                                 UNITED STATES DISTRICT COURT

 8                              WESTERN DISTRICT OF WASHINGTON

 9                                              AT TACOMA

10                                                     Case No.:

11         MARVIN HOLMES JR.,                          COMPLAINT

12                        Plaintiff,                   RACE DISCRIMINATION;
                                                       RETALIATION; WRONGFUL
13         CRU DATA SECURITY GROUP,                    DISCHARGE; 42 U.S.C. § 1981
           LLC, a Washington Limited Liability
14         Company                                     JURY TRIAL REQUESTED

15                        Defendant,

16

17           Plaintiff demands a jury trial and alleges:

18                                                 FACTS

19                                                         1.

20           Plaintiff Marvin Holmes Jr. is, and was at all times material to these claims, an African

21   American male resident of Vancouver, Clark County, Washington.

22   ///

23   ///



      COMPLAINT - 1                                              LAW OFFICES OF SUE-DEL McCULLOCH LLC
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 1                                                    2.

 2          At all times material to these claims, Defendant CRU Data Security Group, LLC,

 3   (hereinafter “CRU”), was a Washington Limited Liability Corporation doing business in

 4   Vancouver, Clark County, Washington.

 5                                                    3.

 6          At all material times, Defendant was an employer subject to 42 U.S.C. § 1981 (“section

 7   1981”).

 8                                                    4.

 9          Beginning on or about September 8, 2014, Plaintiff worked at CRU’s warehouse in

10   Vancouver as a temporary placement through Express Employment Professionals. Defendant

11   hired Plaintiff as a full-time employee effective August 3, 2015, as a Receiver in CRU’s

12   Vancouver warehouse. The Receiver is supervised by the Warehouse Supervisor who in turn is

13   supervised by the Materials Manager.

14                                                    5.

15          Defendant had approximately 40 employees at its Vancouver, Washington facility.

16   Plaintiff was one of only 3 African American employees at that warehouse.

17                                                    6.

18          Plaintiff was a hardworking, dedicated employee, who by the time he was wrongfully

19   terminated in September of 2018 was the most senior Receiver working in CRU’s Vancouver

20   warehouse. Over the course of Plaintiff’s employment with CRU he gained experience

21   performing tasks throughout the warehouse, in addition to those required for his Receiver

22   position, such as picking items to fill orders, helping pack orders, helping with shipping, and

23   helping pull parts for manufacturing.



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 1                                                    7.

 2           In about early 2018, Lisa Watson was hired into the Materials Manager position. Ms.

 3   Watson is a white female.

 4                                                    8.

 5           In May of 2018, Warehouse Supervisor Andrew Baggett, who supervised Plaintiff,

 6   communicated his intent to retire, and he left the Defendant’s employ at about the first of June.

 7   On or about June 4th, 2018, Plaintiff met with Lisa Watson, the Materials Manager, and asked if

 8   he should begin collecting timecards for other warehouse employees, a task typically carried out

 9   by the Warehouse Supervisor. Plaintiff informed Ms. Watson that he assumed he would be

10   placed into the Warehouse Supervisor because he had the longest tenure of the non-supervisory

11   warehouse employees. Ms. Watson laughed and said to Plaintiff words to the effect “oh, I didn’t

12   tell you but Andrew Daniel is your new Warehouse Supervisor. You’ll give your timecards to

13   him”.

14                                                    9.

15           Andrew Daniel, who was promoted to Warehouse Supervisor over Plaintiff, was a

16   younger, white employee who had been at the company a shorter time than Plaintiff and had less

17   experience than Plaintiff.

18                                                    10.

19           On or about June 11, 2018, Plaintiff informed Ms. Watson and Defendant’s Human

20   Resources Director Lisa Hargrave, that he felt that passing him up for the Warehouse Supervisor

21   position was unfair and discriminatory.

22   ///

23   ///



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 1                                                     11.

 2          After Plaintiff had reported his belief that he was discriminated against in being passed

 3   over for promotion, Materials Manager Lisa Watson became progressively more aggressive

 4   toward him.

 5                                                     12.

 6          On or about June 28, 2018, Ms. Watson told Plaintiff when he was working that he

 7   needed to “learn some respect!”

 8                                                     13.

 9          On about July 10, 2018, Ms. Watson came into the warehouse where Plaintiff was

10   working alone and told him she wanted to talk with him. He stopped working and turned to

11   listen to her. They were approximately five feet apart. Ms. Watson told him to come closer to

12   her. Plaintiff indicated that he could hear her fine, and she repeated at least once that he should

13   come closer. Plaintiff again said he was fine where he was. Ms. Watson became visibly angry

14   and said “then you will come with me to my office right now!”

15                                                     14.

16          While following Ms. Watson down the hall to her office, Plaintiff saw Operations

17   Manager Fred Bellamy, Ms. Watson’s superior, in his office. Plaintiff knocked and told Mr.

18   Bellamy about the interaction. Plaintiff indicated that he was uncomfortable being alone with

19   Ms. Watson ordering him around that way and asked if he could have Mr. Bellamy present while

20   Ms. Watson told him what she wanted to talk about. Mr. Bellamy agreed.

21                                                     15.

22          When Ms. Watson saw that Plaintiff was in Mr. Bellamy’s office, she entered the office

23   and sat down. Plaintiff said that he had told Mr. Bellamy that she had told Plaintiff to get closer



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 1   and closer to her to talk about something, then ordered him to follow her to her office when he

 2   would not get any closer, and that he was not comfortable following her alone to her office and

 3   had asked Bellamy to be present while they talked. Plaintiff then asked Ms. Watson what she

 4   had wanted to talk to him about. Ms. Watson suddenly began to cry, saying to Plaintiff that she

 5   had always been “in his corner” and “why are you doing this to me?” When she stood up to

 6   leave, Ms. Watson turned toward Plaintiff and said he would be “sorry that you came in here.”

 7                                                    16.

 8          Throughout Plaintiff’s tenure at CRU, he and all other warehouse workers routinely used

 9   the whiteboard outside the Warehouse Supervisor’s office to make advance requests for

10   PTO/vacation. Plaintiff and other employees would request PTO/vacation leave by writing their

11   request on the white board with at least 2 weeks advance notice so that the employee could

12   assure that the request did not overlap other requests, the Warehouse Supervisor could address

13   the request and other employees could work around the requested time off.

14                                                    17.

15          Plaintiff was never informed of any process for requesting PTO/vacation leave in

16   advance besides recording the request on the whiteboard outside the Warehouse Supervisor’s

17   office, as he had done throughout the entirety of his 3-year employment with Defendant.

18                                                    18.

19          In September of 2018 Plaintiff had a planned 4-day vacation to go to California for his

20   mother’s 75th birthday. He had over 100 hours of PTO saved and had not taken a single vacation

21   day since before Ms. Watson was hired. Plaintiff, in compliance with the policies he had

22   followed for 3 years, requested his PTO/vacation leave by recording his request on the

23   whiteboard outside the Warehouse Supervisor’s office 2-3 weeks in advance of his desired leave



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 1   date, and by speaking with the Warehouse Supervisor. Andrew Daniels did not indicate any

 2   problem with the requested leave dates or that additional process was required.

 3                                                      19.

 4          Despite Plaintiff properly giving notice of his request for PTO/vacation, Plaintiff received

 5   a voice mail from Materials Manager Lisa Watson on the first day of his planned vacation,

 6   September 20, 2018, informing him that he was terminated, allegedly for “job abandonment.”

 7                                                      20.

 8          Plaintiff had never had a single unexcused absence or write up during his employment for

 9   Defendant.

10                                                      21.

11          On information and belief, Defendant has not terminated any other employee for a single

12   absence, particularly not a prescheduled, excused absence, from the date of Plaintiff’s hire to

13   present.

14                                     FIRST CLAIM FOR RELIEF

15                     Racial Discrimination – Failure to Promote (42 U.S Code § 1981)

16                                                      22.

17          Plaintiff hereby realleges and incorporates the allegations in paragraphs 1-10 above.

18                                                      23.

19          Defendant discriminated against Plaintiff in violation of section 1981 by failing to

20   promote Plaintiff on the basis of his race.

21                                                      24.

22          As a direct and proximate result of Defendant’s unlawful discrimination in failing to

23   promote Plaintiff due to his race in violation of Plaintiff’s rights under section 1981, Plaintiff



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 1   suffered and continues to suffer monetary and/or economic damages, including, but not limited

 2   to loss of income, compensation, and benefits for which he is entitled to an award of monetary

 3   damages to be proven at trial, which amount is alleged to be not less than $20,000.

 4                                                      25.

 5           As a direct and proximate result of Defendant’s unlawful discriminatory conduct in

 6   failing to promote Plaintiff in violation of his rights under section 1981, Plaintiff has suffered

 7   emotional distress, including, but not limited to, depression, stress, loss of self-esteem, and

 8   emotional pain and suffering for which he is entitled to an award of compensatory damages in an

 9   amount to be determined by the jury, which amount is alleged to be not less than $200,000.

10                                                      26.

11           Pursuant to 42 USC §1988(b), Plaintiff is entitled to his reasonable attorney's fees and

12   costs incurred to vindicate his civil rights.

13                                    SECOND CLAIM FOR RELIEF

14              Racial Discrimination – Hostile Work Environment (42 U.S. C. § 1981)

15                                                      27.

16           Plaintiff hereby repeats and realleges the allegations in paragraphs 1-19.

17                                                      28.

18           Defendant discriminated against Plaintiff in violation of Section 1981 by subjecting

19   Plaintiff to a hostile work environment from the time that Lisa Watson was hired in spring of

20   2018 including but not limited to promoting a white employee with less experience and less

21   seniority into the position directly over Plaintiff, laughing at Plaintiff, ordering him around in a

22   disrespectful manner that contrasted to the way white employees were addressed, telling him he

23   better “learn some respect,” telling his he would be sorry he had reported his concern, leaving



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 1   him a voice mail that his employment was terminated, and sending his personal belongings to his

 2   apartment when aware that he was out of town and could not bring the boxes inside.

 3                                                     29.

 4                   Plaintiff has sustained noneconomic damages as a result of being subjected to a

 5   hostile work environment due to his race. Plaintiff has suffered emotional distress, including, but

 6   not limited to, depression, stress, loss of self-esteem, and emotional pain and suffering for which

 7   he is entitled to an award of compensatory damages in an amount to be determined by the jury,

 8   which amount is alleged to be not less than $250,000.

 9

10           Pursuant to 42 USC §1988(b), Plaintiff is entitled to his reasonable attorney's fees and

11   costs incurred to vindicate his civil rights.

12                                     THIRD CLAIM FOR RELIEF

13                     Retaliation – Hostile Work Environment (42 U.S.C. § 1981)

14                                                     30.

15           Plaintiff hereby realleges incorporates the allegations in paragraphs 1-19 and 27 above.

16                                                     31.

17           Defendant subjected Plaintiff to a continuing hostile work environment in retaliation for

18   his protected complaints of discrimination in violation of section 1981 by, among other things,

19   ordering him around, being overtly disrespectful, and telling him he would “be sorry” for

20   reporting his discomfort.

21                                                     32.

22           As a direct and proximate result of being subjected to unlawfully hostile work

23   environment from retaliatory, intimidating, offensive and abusive conduct in retaliation for his



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 1   complaints of discriminatory failure to promote and intimidating conduct, Plaintiff has suffered

 2   noneconomic damages including, but not limited to, depression, stress, loss of self-esteem, and

 3   emotional pain and suffering for which he is entitled to an award of compensatory damages in an

 4   amount to be determined by the jury, alleged to be not less than estimated not to be less than

 5   $250,000.

 6                                                     33.

 7           Pursuant to 42 USC §1988(b), Plaintiff is entitled to his reasonable attorney's fees and

 8   costs incurred to vindicate his civil rights.

 9                                    FOURTH CLAIM FOR RELIEF

10                        Retaliation – Wrongful Termination (42 U.S.C. § 1981)

11                                                     34.

12           Plaintiff hereby realleges and incorporates the allegations in paragraphs 1-19 above.

13                                                     35.

14           Defendant wrongfully terminated Plaintiff in retaliation for making protected complaints

15   of discrimination.

16                                                     36.

17           As a direct and proximate result of Defendant’s unlawful discrimination in violation of

18   Plaintiff’s rights under section 1981, Plaintiff suffered monetary and/or economic damages,

19   including, but not limited to loss of income, compensation, and benefits for which he is entitled

20   to an award of monetary damages to be proven at trial, alleged to be not less than $10,000.

21                                                     37.

22           As a direct and proximate result of Defendant’s unlawful retaliatory conduct in violation

23   of Plaintiff’s rights under section 1981, Plaintiff has suffered emotional distress, including, but



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 1   not limited to, depression, stress, loss of self-esteem, and emotional pain and suffering for which

 2   he is entitled to an award of compensatory damages in an amount to be determined by the jury,

 3   which amount is alleged to be not less than $350,000.

 4                                                       38.

 5             Pursuant to 42 USC §1988(b), Plaintiff is entitled to his reasonable attorney's fees and

 6   costs incurred to vindicate his civil rights.

 7

 8             WHEREFORE, Plaintiff prays for the relief requested in each claims alleged above and

 9   for such other relief that the Court deems just and equitable, and demands a jury trial on all

10   claims.

11

12   DATED this 19th day of September, 2022.

13

14                                                       By:     .      /s/ Sue-Del McCulloch        .




                                                               Sue-Del McCulloch WSB #32667
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